    Case 3:19-cv-17272-MAS-ZNQ Document 80 Filed 07/31/20 Page 1 of 6 PageID: 808

                     MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP
                                                       ATTORNEYS AT LAW


                                                 1300 MOUNT KEMBLE AVENUE
                                                        P.O. BOX 2075
                                              MORRISTOWN, NEW JERSEY 07962-2075
                                                        (973) 993-8100
                                                   FACSIMILE (973) 425-0161


     THOMAS R. CURTIN
     Direct Dial: (973) 401-7117
     tcurtin@mdmc-law.com


                                                                July 31, 2020

     VIA ECF
     Hon. Zahid N. Quraishi, U.S.M.J.
     Clarkson S. Fisher Federal Building
      and U.S. Courthouse
     402 E. State Street
     Trenton, New Jersey 08608

                Re:         UMG Recordings, Inc. et al. v. RCN Telecom Services, LLC et al.
                            Civil Action No. 19-17272 (MAS) (ZNQ)

     Dear Judge Quraishi:

             This firm, along with our co-counsel Stein Mitchell Beato & Missner LLP, represents
     Plaintiffs in the referenced matter. Pursuant to Local Rule 37.1(a)(1), we write regarding a
     discovery dispute between the parties concerning Defendants’ Objections and Responses to
     Plaintiffs’ First Set of Requests for Production (“RFPs”) (attached hereto as Exhibit A).
     Plaintiffs previously raised with the Court several of these same issues with respect to
     Defendants’ Objections and Responses to Plaintiffs’ First Set of Interrogatories. See Plaintiffs’
     letter of June 26, 2020 (Dkt. No. 72) and Defendants’ July 10, 2020 letter (Dkt. No. 75). The
     parties have met and conferred on these issues multiple times in writing and telephonically.
     Plaintiffs request a conference with the Court to address Defendants’ discovery deficiencies.

          1. Defendants’ Improper Efforts to Limit Discovery to 2016 to the Present

             In response to 33 RFPs, Defendants have stated that they will limit their response to “the
     period of 2016 to present.”1 As Plaintiffs have previously explained in their letter regarding
     Defendants’ interrogatory responses, this objection is unwarranted. Information related to pre-
     2016 infringement on RCN’s network, including Defendants’ knowledge of and response to (or
     failure to respond to) that infringement, is relevant to numerous claims and defenses in this case,
     including the scope of actionable infringement, Defendants’ eligibility for the safe harbor
     defense under the DMCA, Defendants’ liability for contributory and vicarious infringement, and
     the extent to which Defendants’ infringement was willful (which is directly relevant to the
     amount of statutory damages that may be awarded under 17 U.S.C. § 504).
     1
      RFPs 4, 5, 19, 20, 21, 22, 23, 24, 28, 29, 30, 31, 33, 34, 37, 43, 44, 50, 52, 53, 54, 55, 58, 61,
     62, 63, 64, 65, 66, 69, 72, 73, and 85.

NEW JERSEY     NEW YORK        PENNSYLVANIA   CONNECTICUT   MASSACHUSETTS   COLORADO   DELAWARE   FLORIDA   RHODE ISLAND
Case 3:19-cv-17272-MAS-ZNQ Document 80 Filed 07/31/20 Page 2 of 6 PageID: 809

            MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP
    Hon. Zahid N. Quraishi, U.S.M.J.
    July 31, 2020
    Page 2

         Notably, in the Grande case, the court denied Grande’s efforts to impose the same time
limitation on discovery that RCN seeks to impose here. That case is directly on point not only
because it involved precisely the same legal claims and defenses, but also because RCN and
Grande are owned by the same parent company (TPG Capital), operated by the same
management company (Patriot), and appear to have been governed by the same executives and
policies in responding to copyright infringement. Although the Grande case was filed in 2017,
the court allowed Plaintiffs to take discovery on infringement dating back to 2010. The court
made clear that Plaintiffs were not limited to a three-year period for purposes of discovery. See
UMG Recordings, Inc. v. Grande Commc’ns Networks, LLC, No. 17-cv-00365, 2018 WL
4627276, at *3 (W.D. Tex. Sept. 26, 2018) (“Information on how Grande handled DMCA issues
prior to [three years before the complaint] could be relevant to demonstrating Grande’s
knowledge of its obligations under the statute, and could be circumstantial evidence that Grande
was aware of infringing conduct on its system, and actually had taken action on it before the time
frame at issue here.”). Indeed, evidence from the prior time period was central to the court’s
analysis of the issues on summary judgment including its decision to deny Grande the protection
of the DMCA safe harbor. See, e.g., UMG Recordings, Inc. v. Grande Commc’ns Networks,
LLC, 384 F. Supp. 3d 743, 755 (W.D. Tex. 2019) (relying on evidence of Grande’s policy with
respect to copyright infringement “[p]rior to 2010,” and on evidence that “Grande did not
terminate a single infringing customer from October 2010 until May 2017,” even though “during
that period Grande received over a million copyright infringement notices”). In particular,
Grande’s “utter failure to terminate any customers at all over a six-and a-half-year period despite
receiving over a million infringement notices and tracking thousands of customers as repeat
infringers” was critical evidence in the court’s analysis. 384 F. Supp. 3d at 755 (emphasis
added).

       Defendants have tried to distinguish the Grande case by arguing that “the narrow issue
[in Grande] was whether the plaintiffs were entitled to an order compelling the defendant to
produce its copyright infringement and DMCA policies that were in effect more than three years
before suit was filed.” Dkt. 75, at 4. But that is simply untrue. Plaintiffs in Grande moved to
compel substantially more information than merely the policies themselves. Grande, 2018 WL
4627276, at *3 (noting that Plaintiffs were moving to compel on “Interrogatories 6, 14 and 25
[and] 30(b)(6) topics 7, 25-28, 37-38, 45”). And Grande in fact produced not only its earlier
policy documents, but also data, internal emails and documents, and witness testimony,
concerning infringement and DMCA policies and practices going all the way back to 2010.
There is no sound basis for a different resolution of the issue here.2

2
  Thus, in this case, discovery of pre-August 2016 infringement notices, Defendants’ handling of
such notices, the infringing subscribers associated with those notices, and Defendants’ revenues
and profits derived from those infringing subscribers—topics directly at issue in the interrogatory
responses Plaintiffs have identified as deficient—all are directly relevant to Plaintiffs’ claims
concerning infringement of their copyrighted sound recordings and to Defendants’ DMCA safe
harbor defense.
Case 3:19-cv-17272-MAS-ZNQ Document 80 Filed 07/31/20 Page 3 of 6 PageID: 810

            MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP
    Hon. Zahid N. Quraishi, U.S.M.J.
    July 31, 2020
    Page 3

        Defendants are also incorrect that discovery of pre-2016 infringement should not be
allowed because “such infringement is no longer actionable.” Dkt. 75 at 3. Infringement that
pre-dates the statute of limitations period may be actionable under the discovery rule, which the
Third Circuit has held applies in copyright infringement cases. See William A. Graham Co. v.
Haughey, 568 F.3d 425, 433 (3d Cir. 2009) (discovery rule tolls copyright infringement claims
until “the plaintiff discovers, or with due diligence should have discovered, the injury that forms
the basis for the claim.”). See also Grande, 384 F. Supp. 3d at 768 (rejecting essentially the
same discovery rule argument that RCN makes here). Defendants’ citation to Petrella v. Metro-
Goldwyn-Mayer, Inc. provides no support for their claim that earlier infringement is no longer
actionable. Defendants ignore that the Supreme Court in Petrella (1) stated that it was not
passing on whether the discovery rule applies, (2) observed that nine Courts of Appeal have
adopted the discovery rule for copyright infringement claims, and (3) specifically cited the Third
Circuit’s William A. Graham decision. 572 U.S. 663, 670 n.4 (2014). See also SCA Hygiene
Prod. Aktiebolag v. First Quality Baby Prod., LLC, 137 S. Ct. 954, 962 (2017) (citing Petrella
and again observing that the Court has not passed on the question of whether the Copyright Act’s
statute of limitations is subject to the discovery rule). William A. Graham is still the law in this
Circuit; Defendants’ citation to the Second Circuit’s decision in Sohm v. Scholastic Inc., 959
F.3d 39 (2d Cir. 2020) is unavailing.

      2. Defendants’ Refusal to Provide Documents Related to Other Infringement Notices
         or Other Works

        With respect to 13 RFPs that seek information related to infringement notices that RCN
received, Defendants have refused to produce any documents or have limited their production to
documents concerning only (1) Rightscorp notices (and an arbitrary subset of MarkMonitor
notices) or (2) the specific works in suit.3

        Defendants’ objections are wholly without merit.4 Defendants’ knowledge of copyright
infringement on RCN’s network—of any work from any source—is directly relevant to
Defendants’ knowledge and willful blindness (one of the elements for contributory
infringement), as well as willfulness for copyright statutory damages. Grande, 2018 WL
6624205, at *7, *9 (W.D. Tex. Dec. 18, 2018), report and recommendation adopted, 384 F.
Supp. 3d 743 (W.D. Tex. 2019) (evidence of infringement from multiple sources “show[ed] that
Grande was aware of its subscribers’ infringing conduct and failed to take steps to stop it.”).

       Just as important, this discovery goes to the heart of Defendants’ asserted DMCA safe
harbor defense. See Perfect 10, Inc. v. CCBill LLC, 488 F.3d 1102, 1113 (9th Cir. 2007) (The
DMCA “requires an assessment of the service provider’s ‘policy,’ not how the service provider

3
    RFPs 4, 7, 9, 19, 27, 32, 38, 39, 40, 43, 45, 46, 67, and 68.
4
  Defendants have also asserted burden objections for each of these RFPs, but have provided no
factual support for those assertions.
Case 3:19-cv-17272-MAS-ZNQ Document 80 Filed 07/31/20 Page 4 of 6 PageID: 811

            MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP
    Hon. Zahid N. Quraishi, U.S.M.J.
    July 31, 2020
    Page 4

treated a particular copyright holder. Thus, [defendants’] response to adequate non-party
notifications is relevant in determining whether they reasonably implemented their policy against
repeat infringers.”). In Grande, the court allowed discovery into precisely the same information,
and then on summary judgment found that the evidence was highly relevant to the ISP’s asserted
DMCA safe harbor defense: “Even if the Court were to accept Grande’s arguments related to the
Rightscorp notices, the summary judgment evidence shows that Grande failed to terminate a
single Customer despite the receipt of several hundred thousand other copyright infringement
notices.” 384 F. Supp. 3d at 758.

        Indeed, during the parties’ Wednesday, July 15, 2020 meet and confer teleconference,
counsel for Defendants confirmed that, in the scenario in which an RCN subscriber receives
multiple infringement notices, but only one of the notices is from Rightscorp or MarkMonitor,
RCN still considers the subscriber to be a repeat infringer under the DMCA, and that any DMCA
safe harbor defense would not focus exclusively on how RCN responded to notices from
Rightscorp (or MarkMonitor). Thus, notices that RCN received from entities other than
Rightscorp are necessarily relevant to RCN’s eligibility for the DMCA safe harbor (i.e., whether
it reasonably implemented a repeat infringer policy). See 17 U.S.C. § 512(i)(1)(A). Defendants
nonetheless stated that they stand on their relevance objection and will limit their production of
documents to those from post-August 2016, which concern only (1) Rightscorp notices and
MarkMonitor notices sent at the direction of the RIAA and (2) the specific works in suit.

         Defendants’ admission during the parties’ meet and confer underscores that discovery
concerning all copyright infringement notices, regardless of sender or source, or copyrighted
work identified, is centrally relevant to the DMCA safe harbor defense that Defendants have
indicated they will be asserting—just as the case law indicates. Grande demonstrates the
unreasonableness of Defendants’ stance in this case. There, the court ordered RCN’s affiliate to
provide discovery on the DMCA defense, Grande, 2018 WL 4627276, at *3; the defendant
withdrew additional objections to providing discovery regarding other notices and other works,
id.; the discovery provided was highly probative of the defense (which was rejected on
defendant’s motion for summary judgement), Grande, 384 F. Supp. 3d at 758; and the
information produced was ruled admissible at trial, Grande Order on MILs, at 8, 14-15 [Dkt.
347]. The same scope of discovery to obtain similar, highly relevant, evidence, should be
allowed here. Accordingly, the Court should reject Defendants’ objections and require them to
produce documents concerning copyright infringement regardless of source/sender or
copyrighted work.

      3. Defendants’ Refusal to Provide Discovery on Terminations for Reasons Other Than
         Copyright Infringement

       Defendants have refused to provide any discovery regarding the suspension or
termination of RCN customers for reasons other than copyright infringement.5 Plaintiffs are

5
    RFPs 49, 50, 56, 57, 59, and 60.
Case 3:19-cv-17272-MAS-ZNQ Document 80 Filed 07/31/20 Page 5 of 6 PageID: 812

            MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP
    Hon. Zahid N. Quraishi, U.S.M.J.
    July 31, 2020
    Page 5

entitled to discovery on the number of customers whose accounts were suspended or terminated,
per month, and the reason for that suspension or termination, as this information is probative of
key issues in this case. For example, Plaintiffs seek information about the number of subscribers
RCN has terminated for non-payment—evidence that the courts in Grande and Sony v. Cox both
permitted and that featured prominently in the latter case’s trial. In order to justify RCN’s
decision not to terminate subscribers for copyright infringement, Defendants (like Cox and
Grande) have argued that access to the internet is so important that termination of service is a
drastic measure that should be used sparingly, if at all. But the frequency with which Defendants
terminate subscribers for non-payment and other reasons is directly relevant to this argument. In
Grande, the court agreed with Plaintiffs that the evidence is relevant to present “the jury with the
full picture: that Grande routinely deprives customers of internet service when they don’t pay
Grande.” Grande, Order on MILs, at 16 [Dkt. 347]. In Sony v. Cox, the Court likewise
permitted this evidence at trial, finding that “the broader evidence of subscriber termination
decisions by Cox are relevant.” Sony Music Entertainment v. Cox Communications, Inc., No.
1:18-cv-950-LO-JFA, 12/3/19 Order [Dkt. 626], at 1-2. What is more, evidence that
Defendants terminated customers when their property or services were being stolen, but refused
to do so when others’ property was being stolen, is highly probative of Defendants’ willfulness,
an element for heightened statutory damages under the Copyright Act. In sum, Plaintiffs
respectfully ask that the Court follow the reasoning and decisions of the courts in Grande and
Sony v. Cox, and require Defendants to produce such information in discovery.

      4. Defendants’ Refusal to Produce Any Documents From or Concerning Patriot

        Defendants’ refusal to produce any documents from, or concerning, Defendant Patriot,6 is
facially improper. Plaintiffs have asserted two claims against Patriot (contributory infringement
and vicarious liability), and the documents requested are directly relevant to those claims.
Defendants effectively seek to give to themselves a stay of discovery as to Patriot while the
motions to dismiss are pending. But Defendants have not moved for such a stay; Plaintiffs’
claims against Patriot are actionable for the reasons explained in Plaintiffs’ opposition to
Patriot’s motion to dismiss; and Patriot has plainly relevant discovery, given its central role in
managing and decision-making for RCN. Plaintiffs respectfully request that the Court reject
Patriot’s wholesale refusal to participate in discovery, and order Patriot to produce the
documents that Plaintiffs have requested.

      5. Defendants’ Refusal to Provide Documents Regarding Defendants’ Ownership,
         Valuation, and Corporate Structure

        Other than agreeing to produce organization charts, Defendants have asserted blanket
objections to producing documents concerning Defendants’ ownership, their ownership’s
knowledge of copyright infringement on RCN’s network, Defendants’ corporate structure, and

6
 RFPs 94-97 specifically refer to Patriot, although the other requests are equally applicable to
and discoverable from Patriot.
Case 3:19-cv-17272-MAS-ZNQ Document 80 Filed 07/31/20 Page 6 of 6 PageID: 813

            MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP
    Hon. Zahid N. Quraishi, U.S.M.J.
    July 31, 2020
    Page 6

Defendants’ valuation.7 These objections are clearly improper, as the information is plainly
relevant to Plaintiffs’ claims against both RCN and Patriot and the damages related to those
claims.

        In Grande, discovery revealed that the prior owner of both Grande and RCN, Abry
Partners, directed a change in handling copyright infringement on the Grande service shortly
after acquiring its ownership in 2009: previously, Grande suspended and terminated the service
of infringing customers; but after Abry Partners took over, Grande abandoned that policy and
instead allowed unlimited infringement without repercussions. That policy change furthered
ownership’s goal of reducing “churn” (the number of subscribers who leave an ISP’s network)
and improved the bottom line significantly: when Grande was sold to its current owner, TPG
Capital, in 2016, it fetched a purchase price more than three times what Abry had paid. Plaintiffs
strongly suspect that this same scenario played out with RCN, which was acquired by Abry and
sold to TPG at the same time, and operated by the same management company (Patriot) as
Grande. Discovery on these topics is directly relevant to RCN’s policies and practices, and
economic incentives, for allowing infringement, which bears on Defendants’ knowledge, direct
financial benefit, and willfulness.

                                        *       *       *

       Plaintiffs are available for a telephonic conference with the Court and Defendants at the
Court’s convenience. Thank you in advance for your consideration and attention to this matter.


                                              Respectfully yours,

                              MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP

                                              s/ Thomas R. Curtin

                                              THOMAS R. CURTIN

Attachment
cc:   All counsel (via ECF and e-mail)




7
    RFPs 86-92.
